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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                             )
            Plaintiff,                                  )
                                                        )
          v.                                            ) 1:98-cr-00038-LJM-MJD-9
                                                        )
  ELLIS WALKER,                                         )
            Defendant.                                  )

               STIPULATION REGARDING MODIFICATION OF SENTENCE
                           PURSUANT TO 18 U.S.C. ' 3582

        IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

 America, by counsel, Josh J. Minkler, United States Attorney, and Bradley Blackington, Assistant

 United States Attorney, and Defendant Ellis Walker by counsel, Sara Varner, that:

    1. On December 15, 1999, Ellis Walker was sentenced to 327 months imprisonment based

 upon a guideline range of 262-327 months (reflecting a final offense level of 36 and a criminal

 history category of IV).

    2. On November 1, 2014, the guideline range under which Mr. Walker was sentenced was

 lowered by the U.S. Sentencing Commission under Amendment 782, and the Amendment was

 thereafter made retroactive by unanimous vote of the Commission. Under this Amendment Mr.

 Walker’s guideline range is 210-262 months (reflecting a final offense level of 34 and a criminal

 history category of IV).

    3. Upon review of the underlying facts of the case the parties agree that Mr. Walker is entitled

 to request relief pursuant to 18 U.S.C. ' 3582(c) and U.S.S.G. ' 1B1.10 and Amendment 782.

    4. Based upon the foregoing, the parties hereby stipulate that a sentence reduction of 91

 months (from 327 to 236 months) is appropriate in this matter.

    5. The parties further stipulate that the remaining components of Mr. Walker’s sentence shall
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 remain unchanged.

    6. Undersigned counsel’s office has been in contact with Mr. Walker who consents to this entry

 on his behalf. Mr. Walker stipulates that he waives and does not request a hearing in this matter

 pursuant to Fed. R. Crim. P. 43 and 18 U.S.C. '3582(c)(2).

    7. The parties agree and stipulate that an Order may be entered by this court reducing

 Defendant=s sentence to a term of 236 months.



 Date: February 19, 2016                            Respectfully submitted,



                                                    s/Sara J. Varner
                                                    Sara J. Varner, Counsel for Defendant



                                                    s/Bradley Blackington
                                                    Bradley Blackington
                                                    Assistant United States Attorney
